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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  TOBIAH NELSON                               )    Case Number 3:13-cv-03854-JAP-
                                              )    DEA
                 Plaintiff                    )
                                              )
                   vs.                        )
                                              )
  NCO FINANCIAL SYSTEMS, INC.                 )
                                              )
                                              )
                 Defendant                    )
                                              )



                             NOTICE OF VOLUNTARY DISMISSAL


         PLEASE TAKE NOTICE that plaintiff, Tobiah Nelson, pursuant to Rule 41(a)(1)(i)

  of the Rules of the United States District Court, hereby dismisses the action captioned above

  with prejudice. Each party is responsible for their own attorney’s fees and costs.



                                        BY:_/s/ Brent F. Vullings
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